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DANNY L.JAMES, SR., 5 - IST. ¢F 61

Plaintiji`.

cleL AcTIoN No.:

WRIGHT MEDICAL -TECHNOLOGY,
INC., a Delaware corporation; and
WRIGHT MEDICAL GROUP INC.,

a Delaware corporation,

Defendants.

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COMPI_,._AINT AN]_) JURY DEMAND

PlaintiH`, Danny L. James, Sr., hereby files this Complaint against
Defendants WRIGI-IT MEDICAL TECHNOLOGY, INC., a Delaware Corporation
and WRIGHT l\CEDlCAL GROUP, INC., (hereinafter collectively sometimes
referred to “Defendants” or “Wright”), respectfully showing the Court the
following:

INTRODUCTION AND SUMMARY OF ACTION
1. For more than two years, Defendants have known that their hip

replacement device ~ the Wright Medical PROFEMUR® Total I-Iip System with

 

 

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Conserve Femoral Total A-Class® Head with BFH®l Technology and Conserve
Plus Cup (collectively the “ProFemur® Hip Implant System”) - was prone to fail
within a couple of years of implantation despite the fact that hip implant devices
typically last more than twenty years. Wright has known that the implant’s metal
“ball” and “socket” bearings that make up the ProFemur@ Hip Implant System’s
hip-joint generates metal debris over time from wear and tear that can spread
throughout the patient’s surrounding bone and tissue. As a result of these defects,
patients that received these implanted devices endured, or will endure, unnecessary
pain and suHering; debilitating lack of mobility; inflammation causing damage or
death to surrounding tissue and bone; metalosis; toxicity; and a subsequent more
difficult revision surgery to replace the faulty devices giving rise to more pain and
suffering, a prolonged recovery time, and an increased risk of complications and
death from surgery. Rather than recall the ProFemur® Hip Implant System upon
first receing notice in 2005 of complaints made to the F.D.A. of the defects
discussed above, Defendants continue to aggressiver market the ProFemur® Hip
Implant System, claiming that it is a safe and effective hip replacement system.

2. Plaintiff’s suffering could easily have been prevented. Plaintiii` and
those like him would not have suffered from unnecessary pain, debilitation,

hospitalization, and the need to undergo subsequent revision surgery had

 

lBFH is an acronym for Big Femoral Head.
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Defendana waived the public of the dangers of the ProFemur® Hip Implant
System in 2005 when hundreds of complaints began being made to the F.D.A.
regarding the device’s failures. Because Defendants failed to warn the public
and/or failed to take the affirmative step of recalling the ProFemur® Hip lmplant
System, Plaintiji` will now live with the consequences of this faulty device for the
rest of his life.

PARTIES

3. At all relevant times, Danny L. James, Sr. was a resident and citizen
of the State of Georgia, residing in 114 Garlington Circle, Waycross, Georgia.

4. Defendant Wright Medical Technology, Inc. (hereinafter “Wright
Technology”) is a corporation organized under laws of the State of Delaware, with
its principal place of business located in Arlington, Tennessee, and as such is a
citizen of both the State of Tennessee and the State of Delaware. Defendant
Wright Technology is registered to do business in the State of Georgia, and may be
served with process by serving its registered agent for service, Corporation Service
Company, at 40 Technology Parkway South, #300, Norcross, Georgia, 30092.

5. Defendant Wright Medical Group, Inc. (hereinafter “Wright Group”)
is a corporation organized under the laws of the State of Delaware, with its
headquarters and principal place of business located in Arlington, Tennessee, and

as such is a citizen of both the State of Tennessee and the State of Delaware.

 

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Defendant Wright Group is authorized to do business in Tennessee; and may be
served with process by serving its registered agent for service, Corporation Service
Company, at 2908 Poston Avenue, Nashville, TN 37203-1312.

6. Defendant Wright Technology is wholly owned subsidiary of
Delaware Wright Group.

7. Defendant Wright Technology and defendant Wright Group shall
hereinafter, jointly and severally, be referred to as “Defendant(s).”

STATEMENT OF JURISDICTION & VENUE

8. This Court possesses diversity jurisdiction pursuant to 28 U.S.C. §
1332. The amount in controversy exceeds the sum of Seventy-Five Thousand
Dollars ($75,000), exclusive of interest and costs, as this action involves a products
liability claim by a severely injured party. There is complete diversity of
citizenship between the parties.

9. Defendant is subject to the Court’s personal jurisdiction because at all
relevant times hereto, Defendant transacted business and continues to transact
business in the State of Georgia. Defendant has sufficient minimum contacts with
Georgia such that exercise of jurisdiction over Defendant would not offend
traditional notions of fair play and substantial justice.

10. Defendant is a corporation, this it is deemed to reside in any judicial

district in which it is subject to the personal jurisdiction 28 U.S.C. § 139l(e). As

 

 

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Defendant is subject to personal jurisdiction in Georgia, venue is proper in this
Court. 28 U.S.C. § 1391(a)(1).

ll. At all times relevant hereto, Defendants developed, manufactured,
advertised, promoted, marketed, sold, and/or distributed the defective Wright
ProFemur-Z® Total Hip System throughout the United States.

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12. This products liability lawsuit seeks compensatory damages on behalf
of Plaintiff Danny L. James, Sr., who was implanted on October 26, 2004, with an
artificial hip replacement system known as the Wright ProFemur-Z® Total Hip
System, designed, manufactured, marketed, distributed, and sold by Defendants.

13. The Wright ProFemur-Z® Total Hip System included an acetabular
cup component called the Wright CONSERVE® PLUS cup, which was also
utilized in Plaintitf’s arthroplasty. PIaintilT shall hereinafter refer to The Wright
CONSERVE® PLUS cup and its components, jointly and serverally, as the
“Wright Cup.”

14. The hip joint is where the femur connects to the pelvis. The joint is
made up of the femoral head (ball like structure at the top of the femur) rotating
within the acetabulum (a cup~like structure at the bottom of the pelvis). In a
healthy hip, both the femur and the acetabuium are strong and the rotation of the

bones against each other is cushioned and lubricated by cartilage and fluids. Over

 

 

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time, age and wear break down the cartilage. This forces the bone of the femur to
rub directly against the bone of the acetabulum, and it causes severe pain and
immobility.

15. A total hip replacement replaces the body’s natural joint with an
artificial one, usually made out of metal and plastic. A typical total hip
replacement system consists of four separate components: (l) a femoral stem,
(2) a femoral head, (3) a liner, and (4) an acetabular shell. The surgeon hollows
out a.patient’s femur bone and the femoral stem is implanted. The femorai head is
a metal ball that is fixed on top of the femoral stem. The femoral head forms the
hip joint when it is placed inside the polyethylene liner and acetabular shell.

16. The Wright Cup is a modular design that provides an option which
puts the metal Conserve femoral ball directly in contact with the metal Conserve
acetabular cup which produces a large amount of metal on metal wear debris.

17 . The Wright Cup and related components were approved under a
process by the Food and Drug Administration (hereinali;er referred to as. the
“FDA”) governed by Section 510(k) of the Food, Drug and Cosmetic Act. A
medical device submitted under Section 510(k) does not have to go through the

rigors of a clinical study to gain approval by the FDA.

 

 

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18. The components of the Wright Cup were approved for use by the
FDA through the 510(k) approval process whereas the device demonstrated
substantial equivalence to a predicate medical device.

19. Wright claims that “[t]he ProFemur® Hip lmplant System provides
surgeons with a modular approach to total hip arthroplasty. Proximal and distal
segments allow easy matching of implants to host bone. Splined, tapered and
plasma-sprayed components provide optional distal Exation methods The unique
modular neck component allows soft tissue balancing and easy restoration of the
hip joint center of rotation ’I`hjs modular approach to implant design provides
surgeons with unsurpassed options for primary and revision hip surgery.- The
PROFEMUR® Hip System has been an evolutionary design. Today Wright
Medical offers the ProFemur® Hip Implant System with enhanced instruments and
additional stem designs to provide customers with a comprehensive implant system
to appeal to virtually any physician's preference in implant selection. The slim
neck geometry allows for increased range of motion over other implant systems,
while the polished surface will reduce debris generation should impingement
occur. Femoral necks, when combined with cobalt chrome femoral heads, offer

110 possible centers of rotation on each implant.”2

 

2hgp://www.wmt.com/physicians/products/hins/nrofemurtotalhinsvstemg\_s_p.
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20. The Wright Cup is designed with a flexible neck. The neck of the
implant can be adjusted for length, allowing surgeons to create a more specialized
fit for each patient According to Wright, the design should allow the implant to
better match to host bones and allow son tissues to balance and restore the hipjoint
center of rotation. However, the design that is supposed to make the Wright Cup
revolutionary - causing the device neck to be subject to bend - is a feature that has
caused it to fail. The bend in the neck of the implant increases the potential for
corrosion, fretting and failure, during normal use.

21. The Wright Cup was purchased in Georgia, implanted in Georgia,
failed in Georgia and was removed during surgery in Georgia.

22. Prior to, on, and after October 26, 2004, Wright knew that the Wright
Cup was defective and harmful to consumers and that these components had an
unacceptable failure and complication rate. Wright had a legal and moral
obligation to stop selling the products and to notify physicians who had implanted
the Wright Cup to be aware of the propensity for the Wright Cup to detach,
disconnect, andfor loosen from the acetabulum, and for some patients to develop
adverse reactions to high levels of metal debris generated by normal use of the
Wright Cup.

23. Plaintiff suffered pain in his right hip continuously following his

surgery.

 

 

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24 On or about June 15, 2010, Plaintiif was forced to undergo a revision
surgery on his right hip. Plaintifl’s revision surgery revealed that the Wright Cup
had become grossly loose.

25. Plaintiff continues to suffer from injuries of a permanent and lasting
nature and discomfort as a result of the Wright Cup.

26. Plaintilf is`permanently impaired in his ability to financially provide
for himself and his family as a result of the Wright Cup.

27. Plaintiff will need many years of continuous medical treatment as a
direct and proximate cause of his Wright Cup.

COUNT I - STRICT P_RODUCT LB§ILITY

28. Plaintiff incorporates by reference paragraphs 1 through 27 of this
Complaint as if fully set forth herein and further alleges as follows.

29. On and prior to October 26, 2004, Defendants were engaged in the
business of designing, manufacturing marketing distributing, and selling
orthopaedic hip implants and did design, manufacture, distribute, market, and sell
the wright Cup. o.C.G.A. § 51-1-11.1.

30. Defendants each had a duty to place into the stream of commerce,
manufacture, distribute, market, promote, and sell the Wright Cup so that it was
neither defective or unreasonath dangerous when put to the use for which it was

designed, manufactured, distributed, marketed, and sold. O.C.G.A. § 51-1-11.

 

 

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31. Defendants each did in fact manufacture, sell, distribute, supply,
and/or promote the Wright Cup to Plaintiff and his implanting physician
Defendants expected the Wright Cup they were selling, distributing, supplying,
manufacturing and!or promoting to reach, and which did in fact reach, implanting
physicians and consumers in the State of Georgia, including Plaintiff and his
implanting physician, without substantial change in the condition.

32. At the time the Wright Cup left the possession of Defendants and the
time the Wright Cup entered the stream of eommerce, it was in an unreasonably

dangerous or defective condition. These defects include, but are not limited to, the

following:
(a) The Wright Cup was not reasonably safe as intended to be used;
(b) The Wright Cup had an inadequate design for the purpose of
hip replacement;

(c) The Wright Cup contained unreasonably dangerous design
defects, including an inherently unstable and defective design which resulted
in an unreasonably high probability of early failure;

(d) The Wright Cup hip implant design puts the metal femoral ball
directly in contact with the metal acetabular cup which produces a large

amount of metal on metal wear debris;

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(e) The Wright Cup’s unstable and defective design resulted in a
hip prosthesis which had risks which exceeded the benefits of the medical
device;

(i) The Wright Cup has a propensity for the acetabular cup to
detach, disconnect and/or loosen ii'om the acetabulum, and for some patients
to develop adverse reactions to high levels of metal debris generated by
normal use of the Wright Cup;

(g) The Wright Cup’s unstable and defective design resulted in a
hip prosthesis which was more dangerous than the ordinary consumer would
expect;

(h) The Wright Cup failed to perform in a manner reasonably
expected in light of its nature and intended function and subjected the
Plaintiif to an unreasonable risk of harm beyond that contemplated by an
ordinary person;

(i) The Wright Cup was insufficiently tested;

(i) The warnings to Plaintiff and Plaintiii’s implanting physician
about the dangers the Wright Cup posed to consumers were inadequate
Examples of the inadequacy of Defendants’ warnings inelude, but are not

limited to, one or more of the following particulars:

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i. The Wright Cup contained warnings insufficient to alert
Plaintiff and Plaintifl’s physicians as to the risk of adverse events
and/or reactions associated with the Wright Cup, subjecting Plaintilf
to risks which exceeded the benefits of the Wright Cup;

ii. The Wright Cup contained misleading warnings
emphasizing the efficacy of the Wright Cup while dcwnplaying the
risks associated with it, thereby making use of the Wright Cup more
dangerous than the ordinary consumer would expect;

iii. The Wright Cup contained insufficient and/or incorrect
warnings to alert consumers, including Plaintiff, through their
prescribing physicians regarding the risk, scope, duration, and severity
of the adverse reactions associated with the Wright Cup;

iv. The Wright Cup did not disclose that it was inadequately
tested;

v. The Wright Cup failed to convey adequate post-
marketing warnings regarding the risk, severity, scope and!or duration
of the dangers posed by the Wright Cup;

vi. The Wright Cup failed to contain instructions suMcient
to alert consumers to the dangers it posed and to give them the

information necessary to avoid or mitigate those dangers

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33. Plaintiff Danny L. Jarnes, Sr. used the Wright Cup for its intended
purpose, i.e., hip replacement

34. Plainti£f Danny L. James, Sr. could not have discovered any defect in
the Wright Cup through the exercise of due care.

35. Defendants, as designers, manufaaners, marketers, and distributors
of medical devices are held to the level of knowledge of an expert in their field.

36. Plaintij`f and his implanting physician did not have substantially the
same knowledge as Defendants who were the designer, manufacturer, or
distributor.

37. The Wright Cup is an unreasonably dangerous product Defendants
knew or should have known of the dangerous condition of the product and
therefore should not have marketed., sold, and/or placed it on the market A
reasonably prudent manufactm'er aware of the dangerous condition posed by the
product would not have marketed, sold, and/or placed these products on the
market

38. As a direct and proximate result of Wright’s defective design, failure
to warn, lack of quality control and other wrongful conduct, PlaintiH` Danny L.
James, Sr. has sustained and will continue to sustain severe physical injuries,
severe emotional distress, mental anguish, economic losses and other damages

Plaintiff Danny L. James, Sr. has expended and will expend money for medical

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bills and expenses, and he has been unable to and will in the future be unable to
attend to his normal affairs and duties for an indefinite period of tiJne.

39. I~"laintifi'rl Danny L. James, Sr. is entitled to compensatory damages
against Defendants for strict products liability in an amount to be proven at trial,
together with costs of this action.

COUNT II - NEGLIGENCE

40. Plaintiff` incorporates by reference paragraphs 1 through 39 of this
Complaint as if finly set forth herein and further alleges as follows.

41. At all times relevant it was the duty of Defendants to exercise due
care in des_igning, testing, manufacturing distributing marketing, promoting, and
selling the Wright Cup such that it would be reasonably safe for its intended use.
O.C.G.A. § 51-1-2.

42. Defendants’ negligence in the designing, testing, manufacturing,
distributing, marketing, promoting and selling of the Wright Cup includes, but is
not limited to, the following:

(a) the Wright Cup acetabular component was negligently designed
(b) the Wright Cup acetabular components were negligently

designed creating insufficient coverage ofthe femoral component;3

 

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(c) the Wright Cup acetabular components were negligently
designed and manufactured creating increased metal on metal wear between
the femoral component and the acetabular component;4

(d) the Wright Cup was negligently designed and manufactured
creating increased metal corrosion particularly at the junction of the femoral
head component and the neck of the femoral sten:l;5

(c) the Wright Cup was negligently designed and manufactured
creating an unacceptable differential hardness of the cup and femoral head
that is caused by among other things the technique and/or manner of the heat
treatment of the fernoral head and the acetabular cup;'Ei

(h) Wright committed manufacturing errors, including, but not
limited to, component size tolerances out of specification and not within

acceptable industry standards

 

4Langton DJ, Jameson SS, Joyce TJ, Hallab NJ, Natu S, Nargol AV, Early failure
of met_a_l-on-metgl beMs in hip resurfacing and large-diameter total hip
r§placernent: A c_o_,nsequence of er_rcess wea_r. J. Bone Join Surg [Br]. 2010 Jan;
92(1):38-46.

5See generally Meftah, Morteza; Nicolaou, Nicos; Rodriguez, Jose A, Metal
allergy response to femoral head-neck corrosion after total hip renlacemen
Current Orthopaedic Practice, SeptemberfOctober 2010, Vol. 21, Issue 5, pp. 530- '
533.

6Kinbrtun A, Unsworth A, The wear of high-carbon mgt_al-on-m§tal bearings after
different heat treatment_s_. Proc fns Mech Eng H 2008; 222:887-95.

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(i) Wright’s design that is supposed to make the Wright Cup
revolutionary - causing the device neck to be subject to bend - is a feature
that has caused it to fail. ’I‘he bend in the neck of the implant increases the
potential for corrosion, Betting, and failure during normal use.

(i) Wright, in advertising, marketing promoting, packaging, and
selling the Wright Cup negligently misrepresented material facts regarding
their safety, efficacy and fimess for human use by claiming the Wright Cup
was fit for its intended purpose when, in fact it was not;

(k) Wright in advertising, marketing, promoting, packaging, and
selling the Wright Cup, negligently misrepresented material facts regarding
its safety, efficacy, and fitness for human use by claiming the Wright Cup
had been adequately and reliany tested when, in fact, it had not;

(l) Wright in advertising, marketing, promoting, packaging, and
selling the Wright Cup, negligently misrepresented material facts regarding
its safew, amcacy, and ames for human use by claiming the wright cup
was safe and effective and was appropriate for use by human beings when,
in fact it was not;

(m) Wright, in advertising, marketing, promoting, packaging, and
selling the Wright Cup, negligently misrepresented material facts regarding

its safety, efficacy, and thess for human use by claiming the risk of serious

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adverse events and/or effects from the Wright Cup was comparable to that of

other hip replacement systems when, in fact, it was not;

(n) Wright in advertising, marketing, promoting, packaging, and
selling the Wright Cup, negligently misrepresented material facts regarding
its safety, efficacy, and fitness for human use by claiming the Wright Cup
had not caused or contributed to serious adverse events and/or effects
requiring the premature explants of the device when, in fact, it had.

43. Wright knew or had reason to know that Plaintiff as a member of the
general public for whose use the Wright Cup was placed into interstate commerce,
and who would be likely to use the Wright Cup in a manner described in this
Complaint.

44. Wright knew or reasonably should have known of the danger
associated with the manner and circumstances of Plaintift"s foreseeable use of the
Wright Cup, which dangers would not be obvious to the general public.

45. As a direct and proximate result of one or more of the foregoing
wrongful acts or omissions by Defendants, the Wright Cup caused Plaintiff` to
suffer and sustain injuries of a permanent nature. Plaintiff was caused to and will
in the future be caused to endure pain and suffering in body and mind. In an
endeavor to cure his said injuries, Plaintifi` was caused to and will in the future be

caused to expend money for medical care. Furthermore, Plaintiff was unable to

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and will in the future be unable to attend to his normal affairs and duties for an
indefinite period of time.

46. Plaintiff is entitled to recover compensatory damages against
Defendants for negligence in an amount to be proven at trial, together with costs of
this action.

COUNT I]I - BREACH OF WARRANTY

47. Plaintiff incorporates by reference paragraphs l through 46 of this
Complaint as if fully set forth herein and li.u'ther alleges as follows.

48. PlaintiH currently is not in possession of any document relating to
representations, wamings, and/or communications made by Defendants in this
action. Plaintiff reserves the right to present evidence in support of this claim
which is not presently in his possession, but which is not necessarily limited to:
instruction for use manuals; all written material or information provided on and/or
within any and all packaging associated with Plaintiff's device; manufacturer’s
labels, package inserts; Adverse Event Reports; clinical trial data; medical
literature; medical research findings and opinions; medical publications;
advertisements; sales, prescription and adverse event report databases; and
communications from Defendants in this action, including said Defendants’
employees, officers, directors, agents, representatives, contractors and business

associates, to the public, medical community, Plaintiff’s prescribing physician, and

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Plaintiff. Plaintiff is not in possession of documents as described herein, however,
upon information, knowledge, and belief, Plaintiff believes the docurnents,
instruments and/or evidence stated above are in the possession of Defendants.

49. At the time Defendant marketed, sold, andfor distributed the Wright
Cup, it knew that the hip device was intended for human use.

50. At the time Defendant marketed, sold, and/or distributed Wright Cup,
Plaintiff` was a foreseeable user of the device.

51. At the time Defendant marketed, sold, and/or distributed the Wright
Cup, it expressly and!or impliedly warranted that the hip, including all of its
component parts, were safe and merchantable for their intended use. O.C.G.A. §§
11-2A-210, 11-2-314.

52. PlaintiE and his implanting physician reasonably relied upon the
representations that the Wright Cup was of merchantable quality and safe for its
intended uses.

53. Plaintiff used the Wright Cup for its intended purpose.

54. Contrary to their express and implied warranties, at the time
Defendants marketed, sold, and/or distributed the Wright Cup, it was not of
merchantable quality or safe for its intended use as described above.

55. As a direct and proximate result of one or more of the foregoing

wrongful acts or omissions by Defendants, the Wright Cup caused Plaintiff to

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suffer and sustain injuries of a permanent nature. Plaintiff` was caused to and will
in the future be caused to endure pain and suffering in body and mind. In an
endeavor to cure his said injuries, Plaintifi` was caused to and will in the future be
caused to expend money for medical care. Furthennore, Plaintiff` was unable to
and will in the future be unable to attend to his normal affairs and duties for an
indefinite period of time.

56. Plaintif`f is entitled to recover compensatory damages against
Defendants for breach of warranty in an amount to be proven at trial, together with
costs of this action.

COUNT IV- NEGLIGENT MISREPRESENTATION

57. Plaintiff incorporates by reference paragraphs l through 56 of this
Complaint as if fully set forth herein and further alleges as follows.

58. To prove negligent misrepresentation, the Plaintiffs must prove the
following elements: (a) The defendants negligent supply of false information to a
foreseeable person, known or unknown; (b) Such person's reasonable reliance upon
that false information; and (c) Economic injury proximately resulting from such
reliance. Marqur's Towers, Inc. v. Highland Group, 593 S.E.Zd 903 (Ga. Ct. App.
2004).

59. At all times material hereto, Defendants misrepresented that the

Wright Cup in question was safe for its intended use. Defendants knew or should

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have known of the use for which the Wright Cup was intended and the serious
risks and dangers associated with such use of the Wright Cup.

60. Defendants owed a duty to treating physicians and to the ultimate end-
users of the Wright Cup, including Plaintiff`Danny L. James, Sr., to accurately and
truthfully represent the risks cf the Wright Cup. Defendants breached that duty by
misrepresenting and/or failing to adequately warn Plaintiff Danny L. James, Sr.’s
physician, the medical community, Plaintiff Danny L. James, and the public about
the risks of the Wright Cup, which Defendants knew or in the exercise of
reasonable diligence should have known. These risks include, but are not limited
to, the failure rates, the metal debris, and the likelihood of painful and debilitating
revision surgery.

61. As a direct and proximate result of Defendant’s wrongful conduct
Plaintiff` Danny L. James sustained and will continue to sustain severe physical
injuries, severe emotional distress, mental anguish, economic losses, and other
damages

62. Plaintiff Danny L. J ames is entitled to recover compensatory damages
for negligent misrepresentation nom Defendants in an amount to be proven at trial,

together with costs of this action.

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COUNT V - FRAUD AND SUPPRESSION AGAINST DEFENDANTS

63. Plaintiii`s incorporate by reference paragraphs l through 62 of this
Complaint.

64. Defendants owed Plaintiff Danny L. James a duty to disclose the
known risks and/or defects in the Wright Cup as set forth in this Complaint.
O.C.G.A. 23-2-53.

65. Those risks and/or defects were material facts upon which Plaintiff
Danny L. James would have reasonably relied is making a decision as to whether
to consent to the implant of the Wright Cup, had they been disclosed.

66. With lilll knowledge of said risks and/or defects, Defendants
consciously, deliberately, and intentionally breached their duties to Plaintiff Danny
L. James by failing to disclose those material facts to Plaintilf Danny L. James.
O.C.G.A. § 51-6-2.

67. As a direct and proximate consequence of said suppression, Plaintift`
Danny L. James sustained and will continue to sustain severe physical injuries,
severe emotional distress, mental anguish, economic losses and other damages

68. PlaintiffDanny L. James is entitled to recover compensatory damages
for fraud and suppression against Defendants in an amount to be proven at trial,

together with costs of this action.

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COUNT VI - CIVIL CONSPIRACY AGAINST DEFENDANTS

69. - Plaintiff incorporates by reference paragraphs l through 68 of this
Complaint.

70. To recover damages for a civil conspiracy claim, a plaintilf must show
that two or more persons, acting in concert, engaged in conduct that constitutes a
tort; absent the underlying tort, there can be no liability for civil conspiracy.
Golden Atlanta Sc'te Development, Inc. v. Nahaz`, 683 S.E.Zd 166 (Ga. Ct. App.
2009).

71. Each of the Defendants had a duty to PlaintiE Danny L. James to
disclose the known risks and/or defects in the Wright Cup as set forth in this
Complaint.

72. Those risks andfor defects were material facts upon which Plaintilf
Danny L. James would have reasonably relied in making a decision as to whether
to consent to the implant of the Wright Cup, had they been disclosed.

73. The Defendants have conspired together to actively suppress these
material facts from Plaintiff Danny L. James.

74. The foregoing combination of two or more persons was formed for

the purpose of injuring Plaintift` Danny L. James.

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7 5. Plaintift` Danny L. J ames is entitled to recover compensatory damages
for civil conspiracy against the Defendants in an amount to be proven at trial,
together with costs of this action

COUNT VII - PUNITIVE DAMAGES AGA]NST DEFE_NDANTS

76. Plaintitf incorporates by reference paragraphs l through 75 of this
Complaint.

77. The acts of the Defendants showed willful misconduct malice, fraud,
wantonness, oppression, or that entire want of care which would raise the
presumption of conscious indifference to consequences

78. Plaintitf Danny L. James is entitled to recover punitive damages
against Defendants in an amount to be proven at trial, without any limitation, as set
forth in O.C.G.A. § 51-12-5.1(e)(1).

gm
Respectfully submitted, this 23rd day ofNovember, 2011.

Respectfully submitted,

/stallace I-larrell

Wal]ace Harrell

Georgia Bar No. 328800

GILBERT, HARRELL, SUL{ERFORD &
MAR'I`IN, P.C.

777 Gloucester Street, Suite 200
Brunswick, GA 31520

(912) 265-6700

whan'ell@gilbertharrelllaw.com

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C. Ncal Pope

Georgia Bar No. 5 83769

George W. Walker

Georgia Bar No. 548316

POPE, McGLAMRY, KILPATRICK,
MORRISON & NORWOOD, LLP
1111 Bay Avenue, Suite 450

P.O. Box 2128 (31902-2128)
Columbus, GA 31901~2412

(706) 324-0050

Fax (706) 327-1536

etile@pmkm.com

Michael L. McGlamry

GA Bar No. 492515

N. Kirkland Pope

Georgia Bar No. 58425 5

POPE, McGLAMRY, KILPATRICK,
MORRISON & NORWOOD, LLP
3455 Peachtree Road, N.E., Suite 925
P.(). Box 191625 (31119-1625)
Atlanta, GA 30326-3256

(404) 523-7706

Fax (404) 524-1648

efile mkm.com

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PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

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Wallacc Harrell

Georgia Bar No. 328800

GILBERT, HARRELL, SUMERFORD &
MART]N, P.C.

777 Gloucester Strcet, Suite 200
Brunswick, GA 31520

(912) 265-6700

wharrell@gilbertharrelllaw.eom

C. Neal Pope

Georgia Bar No. 583769

George W. Walker

Georgia Bar No. 548316

POPE, McGLAMRY, KILPATRICK,
MORRISON & NORWOOD, LLP
111 l Bay Avenue, Suite 450

P.O. Box 2128 (31902-2128)
Columbus, GA 31901-2412

(706) 324-0050

Fax (706) 327-1536

etile mkm.com

Michael L. McGlamry

GA Bar No. 492515

N. Kirkland Pope

Georgia Bar No. 584255

POPE, McGLAMRY, KILPA'I`RICK,
MORRISON & NORWOOD, LLP
3455 Peachtree Road, N.E., Suite 925
P.O. Box 191625 (31119-1625)
Atlanta, GA 30326-3256

(404) 523-7706

Fax (404) 524-1648

eflle mkm.com

26

 

